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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

SONOS, INC.,                                    §
                                                §
                        Plaintiff,              §            Case No. 6:20-cv-881-ADA
v.                                              §
                                                §
GOOGLE LLC,                                     §
                                                §
                        Defendant.              §

                         MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Sean M. Sullivan, applicant herein, and moves this Court to grant admission

to the United States District Court for the Western District of Texas pro hac vice to represent

Sonos, Inc., in this case, and would respectfully show the Court as follows:

       1.      Applicant is an attorney and a member of the law firm (or practices under the names

               of) Lee Sullivan Shea & Smith LLP with offices at:

               Mailing address:          656 W. Randolph St., Floor 5W

               City, State, Zip Code:    Chicago, IL 60661

               Telephone: 312.754.9602                      Facsimile: 312.754.9603

       2.      Since November 9, 1995, Applicant has been and presently is a member of and in

               good standing with the Bar of the State of Illinois. Applicant’s bar license number

               is 6230605.

       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:

               Supreme Court of Illinois                    11/9/1995
               U.S. Dist. Court for the N.D. Illinois       12/20/1995
               U.S. Court of Appeals, Federal Circuit       10/2/2002
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4.   Applicant is presently a member in good standing of the bars of the courts listed

     above, except as provided below (list any court named in the preceding paragraph

     before which Applicant is no longer admitted to practice):

     None

5.   I  have  have not previously applied to Appear Pro Hac Vice in this district

     court in Case[s]:

     Number: 6:19-cv-00296-ADA on the 10th day of May 2019.

     Number: 6:19-cv-00462-ADA on the 14th day of August 2019.

     Number: 6:20-cv-00722-ADA on the 24th day of August 2020.

6.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as

     provided:

     None

7.   Applicant has not been charged, arrested, or convicted of a criminal offense or

     offenses, except as provided below (omit minor traffic offenses):

     None

8.   Applicant has read and is familiar with the Local Rules of the Western District of

     Texas and will comply with the standards of practice set out therein.

9.   Applicant will file an Application for Admission to Practice before the United

     States District Court for the Western District of Texas, if so requested; or Applicant

     has co-counsel in this case who is admitted to practice before the United States

     District Court for the Western District of Texas.




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               Co-counsel:             Jeffrey L. Johnson

               Mailing address:        Orrick, Herrington & Sutcliffe LLP

                                       609 Main St., 40th Floor

               City, State, Zip Code: Houston, TX 77002

               Telephone:              713.658.6400

       Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00

pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable to: Clerk,

U.S. District Court].

       Wherefore, Applicant prays that this Court enter an order permitting the admission of

Sean M. Sullivan to the Western District of Texas pro hac vice for this case only.

                                                 Respectfully submitted,

                                                 Sean M. Sullivan
                                                 [printed name of Applicant]


                                                 [signature of Applicant]


                                  CERTIFICATE OF SERVICE

       I hereby certify that I have served a true and correct copy of this motion upon each attorney

of record and the original upon the Clerk of the Court on this the 29th day of September 2020.

                                                 Sean M. Sullivan
                                                 [printed name of Applicant]


                                                 [signature of Applicant]




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